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15

16                                 UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN FRANCISCO DIVISION

19   CHILDREN’S HEALTH DEFENSE,
                                                      Case No. 3:20-cv-05787-SI
20                                  Plaintiff,
21                                                    DEFENDANTS’ NOTICE OF MOTION
            v.
                                                      AND MOTION TO DISMISS;
22   FACEBOOK, INC., ET AL.,                          MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT
23                                  Defendants.       THEREOF
24                                                    Hon. Susan Illston
25                                                    Courtroom I – 17th Floor
                                                      Date: February 5, 2021
26                                                    Time: 10:00 a.m.

27

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1                           NOTICE OF MOTION AND MOTION TO DISMISS

2            PLEASE TAKE NOTICE THAT, on February 5, 2021 at 10:00am or as soon thereafter as

3     the matter may be heard, in Courtroom I of the U.S. District Court for the Northern District of

4     California, San Francisco Division, at 450 Golden Gate Avenue, San Francisco, California, this

5     Motion to Dismiss filed by Facebook, Inc. and Mark Zuckerberg will be heard. Pursuant to

6     Federal Rule of Civil Procedure 12(b)(6), defendants move to dismiss the complaint on the

7     grounds that its claims are barred by both the First Amendment and Section 230 of the

8     Communications Decency Act, and that plaintiff has otherwise failed to state claims upon which

9     relief can be granted. Defendants’ Motion to Dismiss is based on this Notice of Motion, the
10    Memorandum of Points and Authorities, and the supporting Declaration of Molly M. Jennings.
11                                STATEMENT OF REQUESTED RELIEF

12           Pursuant to Federal Rule of Civil Procedure 12(b)(6), Facebook and Mark Zuckerberg

13    request that the Court dismiss the complaint with prejudice.

14                          MEMORANDUM OF POINTS AND AUTHORITIES

15           This lawsuit asks the Court to step far outside its role as adjudicator of legal disputes and

16    instead become an arbiter of what science has, to date, established as definitively “true” or “false”

17    regarding vaccines. According to CHD, “[u]nvaccinated kids are healthier” than vaccinated

18    children, Compl. ¶ 71, and vaccines are responsible for infant deaths, id. ¶ 95. Facebook’s third-

19    party independent fact-checkers designated several of CHD’s vaccine-related posts as containing

20    false information and provided detailed explanations supporting those designations. Facebook

21    labeled those posts according to its fact-checkers’ conclusions, and provided its users with the

22    fact-checkers’ reasoning such that users could evaluate the conclusions for themselves. Facebook

23    also restricted CHD’s ability to share information identified as false or partly false.

24           CHD now claims that Facebook’s policies and actions violated its First Amendment rights,

25    injured its position in the “marketplace of ideas,” Compl. ¶ 191, and constituted a RICO

26    enterprise. But CHD gets the First Amendment analysis exactly backward. The First Amendment

27    is a shield from government action—not a sword to be used against a private entity. In light of

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1     CHD’s skewed understanding of the fundamental principles implicated by its lawsuit, it is little

2     surprise that the Complaint suffers from numerous fatal, independent, and incurable defects.

3            First, the Complaint fails to state a Bivens claim because it does not plausibly allege federal

4     action. Facebook and Mark Zuckerberg are private actors. Facebook exercised its own editorial

5     discretion to reduce the visibility of posts identified as false or partially false. The Complaint does

6     not plausibly allege that any federal actor was so intertwined with Facebook’s decisions with

7     respect to CHD’s content that the federal government can be deemed responsible for them. And it

8     does not plausibly allege that Mr. Zuckerberg was personally involved at all in those decisions.

9            Second, far from violating the First Amendment, Facebook’s decisions to label and limit the
10    visibility of CHD’s content are themselves protected by the First Amendment. In this context,
11    CHD must, at a minimum, plausibly allege that Facebook acted with actual malice, which it has
12    not—and cannot—do.
13           Third, Section 230 of the Communications Decency Act (“CDA”) shields Facebook from
14    liability for restricting access to and/or demoting CHD’s content.
15           Fourth, the Lanham Act claim fails because CHD does not have standing under that statute
16    and because it does not allege any false promotional statement. CHD claims to compete with
17    Facebook in the “marketplace of ideas”—but that is not a cognizable economic market.
18    Moreover, the alleged false statements (i.e., that CHD’s posts contain false or misleading
19    information) are not promotional statements cognizable under the Act.
20           Fifth, CHD fails to state a claim under RICO because it has not suffered a sufficiently
21    “direct” injury to confer statutory standing and has not adequately pleaded any predicate acts.
22           Sixth, the Complaint additionally fails to state a claim against Mark Zuckerberg because it
23    does not plausibly allege that he was personally involved in any of the allegedly unlawful conduct.
24           These deficiencies cannot be cured by amendment. No amended allegations can convert
25    Facebook and Mr. Zuckerberg into federal actors for purposes of Bivens or change the binding
26    precedent that precludes expanding Bivens under circumstances present here. No amended
27    allegations can alter the defenses accorded to Facebook and Mr. Zuckerberg under the First
28    Amendment and Section 230 of the CDA. And no amended allegations could bring CHD’s
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1     Lanham Act claim within the zone of interests protected by that statute or turn Defendants’ actions

2     here into an actionable RICO conspiracy. CHD’s claims should be dismissed with prejudice.

3                                              BACKGROUND

4             A.     Facebook Uses Third-Party Fact-Checkers To Identify Misinformation

5              Facebook is a social media website with 2.2 billion users worldwide. Compl. ¶ 6.

6     Facebook users can maintain their own Facebook Pages; share status updates, photos, videos, and

7     stories on those Pages; and browse for content through their News Feed. Terms of Service,

8     FACEBOOK, https://www.facebook.com/terms.php (last accessed Oct. 23, 2020). 1

9              As part of its “commit[ment] to fighting the spread of misinformation,” Facebook has

10    developed a fact-checking program to identify false or misleading information on its platform.

11    Fact-Checking on Facebook, FACEBOOK FOR BUSINESS, https://tinyurl.com/y33wyhe2 (last

12    accessed Oct. 23, 2020) (Jennings Decl. Ex. 1 at 1). 2 Facebook has explained that it “rel[ies] on

13    independent fact-checkers”—like Science Feedback and PolitiFact, Compl. ¶¶ 119, 123—“to

14    identify and review potential misinformation” because it does “not believe that a private company

15    like Facebook should be the arbiter[] of truth.” How Our Fact-Checking Program Works,

16    FACEBOOK JOURNALISM PROJECT, https://tinyurl.com/y57sx6n3 (last accessed Oct. 23, 2020)

17    (Jennings Decl. Ex. 2 at 2). 3 Facebook’s third-party fact-checkers “are certified through the non-

18    partisan International Fact-Checking Network (IFCN).” Jennings Decl. Ex. 1 at 1. The fact-

19    checkers review potentially misleading information and rate it as false, altered, partly false,

20    missing context, satire, or true. Id.; Compl. ¶¶ 120, 123.

21            When users share content identified as containing false information, Facebook responds by

22    “surfacing fact-check articles to users … and showing labels on top of false stories.” Jennings

23
      1
        The Complaint incorporates the Terms of Service by reference; they therefore may be considered
24    in deciding this Motion to Dismiss. See Compl. ¶¶ 34-37; Knievel v. ESPN, 393 F.3d 1068, 1076-
      77 (9th Cir. 2005) (considering website under “‘incorporation by reference’ doctrine”).
25
      2
          The Complaint also incorporates this webpage by reference. See Compl. ¶ 120.
26    3
        The Court may take judicial notice of this website for its existence and content. See Threshold
27    Enters. Ltd. v. Pressed Juicery, Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020). It cannot
      reasonably be disputed that Facebook made the quoted statement as that fact can be readily
28    determined from sources whose accuracy cannot reasonably be disputed. See id. at 145.
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1     Decl. Ex. 2 at 2. When a user shares a link that fact-checkers have identified as containing false

2     information, the image previewing the link is covered by a transparent grey overlay identifying the

3     link as containing “False” or “Partly False Information.” E.g., Compl. ¶¶ 71, 95. The grey

4     overlays allow users to click to “See [the] Link” that fact-checkers identified as containing false

5     information and also to click a button to “See Why” the link was so identified. E.g., id. ¶ 71. Upon

6     clicking “See Why,” users see a summary from the factchecker identifying: the nature of the

7     designation, such as “false” or “partly false”; a definition of that designation; the factchecker

8     responsible for the designation; and a brief explanation. See, e.g., id. ¶¶ 73, 81, 97. Users can click

9     on the summary for greater detail. E.g. id. ¶ 75, 83, 98. Content rated as “False, Altered or Partly
10    False[ ] will [also] appear lower in News Feed … and be featured less prominently in Feed and
11    Stories.” Jennings Decl. Ex. 1 at 2.
12             Facebook also takes action against Pages that repeatedly share information rated as “False”
13    or “Altered.” Jennings Decl. Ex. 1 at 2. Facebook may, for example, reduce the distribution of
14    such Pages or remove their ability to advertise or solicit donations on the platform. Id.
15              As relevant here, Facebook announced in March 2019 that it would “reduce the ranking of
16    groups and Pages that spread misinformation about vaccinations in News Feed and Search” and
17    “remove access to our fundraising tools for Pages that spread misinformation about vaccinations.”
18    Bickert, Combatting Vaccine Misinformation, FACEBOOK (Mar. 7, 2019),
19    https://tinyurl.com/yyazbumc (Jennings Decl. Ex. 3 at 2-3). 4 Six months later, Facebook

20    announced that it was “starting to roll out more ways to connect people with authoritative

21    information about vaccines on Facebook,” including links to the World Health Organization’s

22    (“WHO”) website, “when people come across misinformation on this topic.” Id. 5

23

24

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      4
          The Complaint quotes this article at length, see ¶ 41, thereby incorporating it by reference.
26    5
       The Complaint devotes considerable space to questions of 5G network safety, Compl. ¶¶ 141-
27    150, Facebook’s efforts to remove misleading information about 5G networks, id. ¶ 48, and
      Facebook’s alleged interest in promoting 5G networks, id. ¶¶ 163-170, but does not allege that
28    Facebook labeled or demoted any CHD content relating to 5G networks.
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1            B.      Facebook Labels and Demotes CHD Content Identified By Third-Party Fact-
                     Checkers As Containing False Information
2
             CHD uses its Facebook Page to share articles and videos, including pieces concerning “the
3
      risks and harmful effects of chemical exposure upon prenatal and children’s health, including from
4
      particular vaccines.” Compl. ¶ 14.
5
             Between January 15, 2019, and June 18, 2020, Facebook’s fact-checkers labeled six CHD
6
      vaccine-related posts as containing false or partly false information, resulting in the application of
7
      various restrictions to the underlying content. Id. ¶¶ 60, 65, 69, 77, 89, 94-95. 6 For example, on
8
      May 28, 2020, Facebook applied a grey overlay with the text “False Information Checked by
9
      independent fact-checkers” to a link to an article CHD shared claiming to “Clarif[y] Health
10
      Outcome in Vaccinated versus Unvaccinated Children.” Id. ¶ 71. Upon clicking the “See Why”
11
      button, users were informed that Science Feedback had identified the article as containing false
12
      information because “[v]accinated children do not have greater risk of adverse health outcomes in
13
      comparison to unvaccinated.” Id. ¶ 73. Users could click on the summary to further read that
14
      Science Feedback identified the claim that “[v]accinated children are more likely to have adverse
15
      health outcomes” as “unsupported” because it is “based on a single study which used highly
16
      biased methods”; “failed to control for confounding factors in its comparison of vaccinated and
17
      unvaccinated children,” such as “healthcare-seeking behavior”; and “used patient data from
18
      handpicked pediatric clinics only.” Id. ¶ 75.
19
             In addition to action at the level of individual posts, Facebook also took action against CHD
20
      at the account level as a result of CHD’s repeated violations of Facebook’s policy against sharing
21
      misleading information, as identified by Facebook’s fact-checkers. In May 2019, for example,
22
      Facebook deactivated the “donate” button on CHD’s page. Compl. ¶ 100. And on September 4,
23
      2019, Facebook published a warning at the top of CHD’s Facebook Page, reading:
24

25

26

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      6
       This brief addresses only the defects in CHD’s claims against Defendants Facebook and Mark
28    Zuckerberg, but the claims against the fact-checker defendants are flawed for similar reasons.
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1            This Page posts about vaccines.

2            When it comes to health, everyone wants reliable, up-to-date information. The Centers
             for Disease Control (CDC) has information that can help answer questions you may
3            have about vaccines.
4
             Go to CDC.gov.
5     Id. ¶ 44.
6                                                 ARGUMENT
7     I.     CHD HAS NOT STATED A BIVENS CLAIM (COUNT I)
8             CHD claims that Facebook violated CHD’s First Amendment rights by labeling as “false”
9     and demoting its posts, Compl. ¶¶ 177, 184, and violated CHD’s Due Process rights by disabling
10    the “donate” button on CHD’s Facebook Page, id. ¶ 185. CHD seeks damages for those alleged
11    deprivations under Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403
12    U.S. 388 (1971), which created “an implied private action for damages against federal officers
13    alleged to have violated a citizen’s constitutional rights.” Correctional Servs. Corp. v. Malesko,
14    534 U.S. 61, 66 (2001). CHD cannot overcome limitations on the Bivens doctrine that preclude its
15    expansion to this novel context.
16           A.      The Complaint Does Not Plausibly Allege Federal Action
17            To start, Bivens provides a remedy only against “individual federal officers.” Malesko, 534
18    U.S. at 70 (emphasis added). It can be applied to private actors, such as Defendants, only where
19    their conduct is so intertwined with that of federal actors that “it is fair to attribute the challenged
20    actions” to the federal government. Morse v. North Coast Opportunities, Inc., 118 F.3d 1338,
21    1343 (9th Cir. 1997). Distinguishing private from federal actors is no mere technicality; it is
22    crucial to “preserv[ing] an area of individual freedom by limiting the reach of federal law and
23    federal judicial power.” Lugar v. Edmonson Oil Co., 457 U.S. 922, 936 (1982). This is particularly
24    so in the First Amendment context. Using the First Amendment to sanction private conduct, as
25    CHD seeks to do, “could eviscerate certain private entities’ rights to exercise editorial control over
26    speech and speakers on their properties or platforms.” Manhattan Cmty. Access Corp. v. Halleck,
27    139 S. Ct. 1921, 1932 (2019).
28
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1             The Complaint tries, but fails, to allege federal action under a “joint action” theory. See

2     Compl. ¶ 177. The “joint action” doctrine applies only where government “‘officials and private

3     parties have acted in concert in effecting a particular deprivation of constitutional rights.’”

4     Franklin v. Fox, 312 F.3d 423, 445 (9th Cir. 2002). Mere “regulatory interest in a problem” does

5     not “transform[] any subsequent private efforts to address the problem (even those expressly

6     designed to obviate the need for regulation) into state action.” Mathis v. Pacific Gas & Elec. Co.,

7     75 F.3d 498, 503 (9th Cir. 1995). Rather, there must be a “substantial degree of [government]

8     cooperation,” Franklin, 312 F.3d at 446, such that the federal actors are “responsible for the

9     specific conduct of which the plaintiff complains,” Blum v. Yaretsky, 457 U.S. 991, 1004 (1982).
10            CHD attempts to establish joint action between Defendants and Representative Adam
11    Schiff, the CDC, and the WHO. But the Complaint does not establish that any government official
12    substantially cooperated in any of the conduct that CHD claims violated its First Amendment and
13    Due Process rights. With respect to Representative Schiff, CHD points to a letter generally
14    encouraging Facebook to take action related to vaccine misinformation, Compl. ¶ 38, and his
15    statements exhorting Congress to take action to hold social media companies liable for third-party
16    content, id. ¶ 39. But to transform private actions (like those challenged here, see id. ¶¶ 4, 60-99,
17    100, 111) into state action, the federal actor must provide the “substantive standard” that dictated
18    the private actor’s decisions. Morse, 118 F.3d at 1339. Because Representative Schiff’s letter
19    provided no substantive standard by which to identify “vaccine misinformation” or determine
20    what action to take against it, the letter cannot establish state action. Neither can his general
21    statement regarding what Congress “could or should” do. Compl. ¶ 39. As noted, mere “regulatory
22    interest in a problem” does not convert private into state action. Mathis, 75 F.3d at 503. If it did,
23    statements (or posts or tweets) from politicians or regulators, suggesting (or encouraging or
24    urging) virtually any private conduct could lead to private liability under Bivens. The Complaint
25    thus fails to plead joint action with respect to Representative Schiff.
26            As for the CDC and WHO, CHD alleges only that Facebook adopted the CDC’s and
27    WHO’s definitions of “vaccine hoaxes” and, following discussions with the WHO, identified the
28    CDC and WHO as authoritative sources of vaccine information, Compl. ¶¶ 179-180. But sharing
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1     information does not establish joint action. See Federal Agency of News LLC v. Facebook, Inc.,

2     432 F. Supp. 3d 1107, 1125 (N.D. Cal. 2020). And in any event, the CDC did not even do that

3     much; Facebook simply identified it as a source of information. Indeed, there is no allegation that

4     the CDC actually did anything, let alone that it was “involved with the activity that caused the

5     injury giving rise to the action.” Federal Agency of News LLC, 432 F. Supp. 3d at 1125. And the

6     WHO is not a federal actor; it is an international organization comprised of representatives from

7     194 member states. 7 Although the United States is a member of the WHO, a state’s membership in

8     a multilateral government body does not make that body’s conduct state action. See NCAA v.

9     Tarkanian, 488 U.S. 179, 183, 193 (1988). CHD therefore does not properly plead joint action
10    with respect to either the CDC or WHO.
11           B.      Neither Facebook Nor Mark Zuckerberg Is A Proper Bivens Defendant
12            CHD’s Bivens claim independently fails because Facebook and Mr. Zuckerberg are not

13    proper Bivens defendants. Bivens is a remedy against individuals, not entities. See FDIC v. Meyer,

14    510 U.S. 471, 485 (1994). “The purpose of Bivens is to deter individual federal officers from

15    committing constitutional violations.” Malesko, 534 U.S. at 70 (emphasis added). Because claims

16    against “corporate defendant[s]” do not serve that purpose, they are “foreclosed.” Id. at 71. The

17    claim against Facebook must therefore be dismissed.

18            As to Mr. Zuckerberg, the Complaint fails to plausibly allege that he, “through [his] own

19    individual actions, has violated the Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009) (no

20    vicarious liability under Bivens). Aside from wholly conclusory allegations regarding Mr.

21    Zuckerberg’s involvement, see Compl. ¶¶ 8, 114, 195, 199, the Complaint alleges only that he has

22    a personal interest in vaccines, id. ¶¶ 7, 151, 160, 162; that he is aware of and involved at a very

23    high level with Facebook’s efforts to remove misinformation, id. ¶¶ 39, 48, 58, 108, 152; and that

24    he has been personally involved in some decisions whether to remove content unrelated to

25
      7
26     About WHO, WORLD HEALTH ORGANIZATION, https://tinyurl.com/y5ltbeaf (last accessed Oct.
      23, 2020). Judicial notice is appropriate because this information was provided by a government
27    entity and is “capable of accurate and ready determination by resource to sources whose accuracy
      cannot reasonably be questioned.” Daniels-Hall v. National Educ. Ass’n, 629 F.3d 992, 999 (9th
28    Cir. 2010).
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1     vaccines (i.e., a post by President Trump and a manipulated video of House Speaker Pelosi), id.

2     ¶¶ 118, 155. Those allegations fall far short of establishing any reasonable inference of personal

3     constitutional liability.

4            C.      The Bivens Claim Requires An Unwarranted Expansion Of Bivens Liability

5             The defects described above are separately dispositive of CHD’s Bivens claim. But even if

6     they were not, CHD’s claim also should be dismissed because it would require the Court to

7     expand Bivens liability in ways that would encroach on constitutional and statutory protections

8     that apply not only to Facebook, but to technology companies and private actors more broadly.

9             No court has applied Bivens to hold a private social-media platform liable for exercising its

10    editorial judgment. Applying Bivens here would therefore be “different in a meaningful way from

11    previous Bivens cases,” Ziglar v. Abbasi, 137 S. Ct. 1843, 1859 (2017), because it would raise

12    First Amendment concerns not addressed in previous Bivens cases. That is a significant problem

13    for CHD, because “expanding the Bivens remedy is now a ‘disfavored’ judicial activity,” id. at

14    1857, and courts must decline to expand Bivens where “special factors counsel[] hesitation” and

15    “alternative remed[ies]” are available, Carlson v. Green, 446 U.S. 14, 18 (1980).

16            Moreover, courts should not craft constitutional remedies where there are “sound reasons

17    to think Congress might doubt the efficacy or necessity” of such remedies. Ziglar, 137 S. Ct. at

18    1858. Here, there are two such reasons. For one, Congress chose to expressly preempt federal and

19    state claims that target decisions by companies like Facebook to remove or restrict access to

20    content like this. See 47 U.S.C. § 230(c). This Court should not create the remedy that Section 230

21    precludes. See infra pp. 13-14. Second, allowing Bivens suits against private parties based on

22    editorial decisions “could eviscerate certain private entities’ rights to exercise editorial control

23    over speech and speakers on their properties or platforms.” Manhattan Cmty. Access Corp., 139 S.

24    Ct. at 1932. See infra p. 11.

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1     II.    THE FIRST AMENDMENT BARS THE REMAINDER OF CHD’S CLAIMS
             (COUNTS 2 & 3)
2
             A.      The First Amendment Protects Facebook’s Statements And Content-
3                    Moderation Decisions
4             Alleging various harms to its position in the “marketplace of ideas,” Compl. ¶ 191, CHD
5     seeks to hold Facebook liable for publishing a warning label on its Facebook page, labeling
6     several of its posts as containing false or partly false information, and using algorithms to limit the
7     reach of CHD’s content. Compl. ¶¶ 41, 111. But “[t]he First Amendment creates an open
8     marketplace where ideas … may compete without government interference. It does not call on the
9     federal courts to manage th[at] market … .” New York State Bd. of Elecs. v. Lopez Torres, 552
10    U.S. 196, 208 (2008). CHD asks this Court to do precisely what the First Amendment forbids.
11            As to the warning label and fact-checks, the speech here at issue lies within the core of the
12    First Amendment’s protections: a “dialogue of ideas” on a “matter[] of public concern.” Snyder v.
13    Phelps, 562 U.S. 443, 452-453 (2011). CHD itself characterizes vaccine safety as a matter of
14    “open scientific controversy” of interest to the public. Compl. ¶¶ 33, 87. It takes issue with certain
15    conclusions related to that controversy that Facebook communicated (i.e. that its fact-checkers
16    identified certain articles shared by CHD as containing false information) and the validity of the
17    analyses underlying those conclusions, see, e.g., Compl. ¶ 76; but sharing a conclusion together
18    with “the factual basis for [that] conclusion … is protected by the First Amendment.” Partington
19    v. Bugliosi, 56 F.3d 1147, 1156 (9th Cir. 1995). Indeed, that is the fundamental process of public
20    and scientific dialogue that the Constitution safeguards. And where speech is based on scientific
21    inferences drawn from available information (e.g. Compl. ¶ 98 (fact-check concluding that post
22    contained partly false information because it failed to account for data-collection problems with
23    underlying data and other confounding variables), it is particularly beyond the ken of legal
24    adjudication. “Scientific academic discourse” does not fit within the “fact-opinion paradigm of
25    [the] First Amendment.” ONY, Inc. v. Cornerstone Therapeutics, Inc., 720 F.3d 490, 496 (2d Cir.
26    2013). CHD asks this Court to moderate a self-described scientific controversy by deciding as a
27    matter of law whose scientific inferences are true and whose are false. But this Court should not
28    “undertake to referee such controversies.” Id. at 497.
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1               The First Amendment also protects Facebook’s moderation decisions, including decisions

2     to reduce the distribution of certain content or restrict access to certain features by those who

3     repeatedly share misinformation. “Facebook[ has a] First Amendment right to decide what to

4     publish and want not to publish on its platform.” La’Tiejira v. Facebook, Inc., 272 F. Supp. 3d

5     981, 991 (S.D. Tex. 2017); see also Miami Herald v. Tornillo, 418 U.S. 241, 257-258 (1974)

6     (First Amendment protects a newspaper’s right to “exercise editorial control and judgment,” a

7     right that includes the “choice of material to go into the newspaper”). Accordingly, the decision to

8     filter or demote content is a protected editorial judgment. See Jian Zhang v. Baidu.com Inc., 10 F.

9     Supp. 3d 433, 443 (S.D.N.Y. 2014) (First Amendment protects decision to block content from
10    search results); accord Langdon v. Google, Inc., 474 Supp. 2d 622, 629-630 (D. Del. 2007)
11    (similar); Search King Inc. v. Google Tech., Inc., 2003 WL 21464568, at *4 (W.D. Okla. May 27,
12    2003) (similar). The same is true of decisions to restrict access to advertising or fundraising tools.
13    Advertisements and fundraising solicitations carry messages—even if not always “narrow [and]
14    succinctly articulable”—and Facebook cannot be compelled to carry others’ messages. Hurley v.
15    Irish Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569-570 (1995). Like the parade
16    organizers in Hurley, Facebook’s decision to exclude certain of CHD’s messages is protected
17    speech.
18           B.       CHD Cannot Recover For Alleged False Statements Absent Actual Malice
19              Even if CHD (and this Court) could establish that Facebook’s warnings and fact-checks

20    were false, those statements are nonetheless protected as CHD has failed to plausibly allege actual

21    malice. CHD’s public involvement in the debate on vaccine safety makes it a limited-purpose

22    public figure as to that debate. CHD is a limited-purpose public figure because: (1) it alleges that a

23    public controversy regarding vaccine safety existed when the statements at issue were made, see,

24    e.g., Compl. ¶¶ 7, 26, 130-140; (2) the alleged false statements related to CHD’s participation in

25    that controversy, see, e.g., Compl. ¶ 44; and (3) CHD voluntarily injected itself into that

26    controversy for the purpose of influencing its resolution, see, e.g., Compl. ¶¶ 14-15. See Makaeff

27    v. Trump Univ., LLC, 715 F.3d 254, 266 (9th Cir. 2013) (laying out test).

28
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1             Because CHD is a limited public figure, it cannot hold Facebook liable for alleged false

2     statements without plausibly alleging actual malice (i.e., knowledge that the warning and fact-

3     checks were false or reckless disregard for their truth or falsity). See New York Times v. Sullivan,

4     376 U.S. 254, 279-280 (1964). This standard applies to claims under the Lanham Act, see

5     Eastwood v. National Enquirer, Inc., 123 F.3d 1249, 1250-1251 (9th Cir. 1999), and civil RICO,

6     Savage v. Council on Am.-Islamic Relations, Inc., 2008 WL 2951281, at *12 (N.D. Cal. July 25,

7     2008). CHD therefore must allege with specificity that Facebook made the statements “with a

8     ‘high degree of awareness of … probable falsity’ or must have ‘entertained serious doubts as to

9     the truth of [the] publication.’” Harte-Hanks Commc’ns Inc. v. Connaughton, 491 U.S. 657, 667
10    (1989); see also Nicosia v. De Rooy, 72 F. Supp. 2d 1093, 1108 (N.D. Cal. 1999) (“[A]ctual
11    malice must be pled with specificity.”). CHD’s attempts to provide more than “[t]hreadbare
12    recitals” of actual malice fall short of that minimum. See Iqbal, 556 U.S. at 678.
13            As to the warning label, CHD alleges that “Facebook was on notice that CHD was not
14    promoting ‘misinformation’ of any sort” and had “‘obvious reasons to doubt the veracity’ of its
15    warning label” in light of a letter CHD sent to Facebook in March 2019. Compl. ¶¶ 211-212. But
16    nothing in the letter—not its references to articles acknowledging that some ingredients used in
17    some vaccines can in some circumstances be harmful, see Compl. Ex. A at 8-9; not the fact that
18    discontinued vaccines were known to cause harm, id. at 4, 6; and not general statements that
19    conventional wisdom in medicine may be false, id. at 3—establishes that CHD does not post
20    misleading or out-of-date information to its Facebook Page. And in any event, the letter is
21    immaterial because CHD does not allege that it was read by “the individual responsible for
22    publication” of the warning. Resolute Forest Prods. v. Greenpeace Int’l, 302 F. Supp. 3d 1005,
23    1018 (N.D. Cal. 2017). CHD also alleges that “defendants harbor an adverse motive to profit from
24    their unfettered development of vaccines.” Compl. ¶ 214. But a publisher’s motive alone “cannot
25    provide a sufficient basis for finding actual malice.” Harte-Hanks, 491 U.S. at 665.
26            As to the fact-checks, CHD fails to allege with any specificity that Facebook either knew
27    they were false or harbored serious doubt as to their truth. Facebook’s fact-checks relied on the
28    judgments of internationally certified independent fact-checkers. Absent any specific allegation of
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1     contrary knowledge, “reli[ance] upon the integrity of a reputable [source]” defeats an allegation of

2     malice. See Chaiken v. VV Publ’g Corp., 119 F.3d 1018, 1032 (2d Cir. 1997). CHD therefore has

3     not alleged actual malice by either Facebook or Mr. Zuckerberg.

4     III.    THE CDA ALSO BARS CHD’S LANHAM ACT AND CIVIL RICO CLAIMS
              (COUNTS 2 & 3)
5
               Section 230 of the CDA preempts claims that target decisions by services like Facebook to
6
      show or restrict access to content created by third parties. See Barnes v. Yahoo!, Inc., 570 F.3d
7
      1096, 1102 (9th Cir. 2009); Zeran v. America Online, Inc., 129 F.3d 327, 330 (4th Cir. 1997).
8
      Section 230(c)(1) of the CDA applies whenever a claim would treat a “provider” of an “interactive
9
      computer service” as the “publisher” of content “provided by another information content
10
      provider.” 47 U.S.C. § 230(c)(1). It therefore protects Facebook and Mr. Zuckerberg from claims
11
      based on their making available third-party fact-checks and their restriction of access to certain
12
      CHD-created content. Accordingly, the CDA bars CHD’s Lanham Act and civil RICO claims.
13
               Facebook and Mr. Zuckerberg are each “provider[s]” of an “interactive computer service.”
14
      The Facebook platform is an “interactive computer service” that Facebook, Inc. provides. See,
15
      e.g., Sikhs for Justice (“SFJ”), Inc. v. Facebook, Inc., 144 F. Supp. 3d 1088, 1093 (N.D. Cal.
16
      2015). Mr. Zuckerberg likewise falls within the CDA because CHD seeks to hold him liable for
17
      “his role in making [an interactive computer service] available.” Klayman v. Zuckerberg, 753 F.3d
18
      1354, 1357-1358 (D.C. Cir. 2014). CHD’s allegations against Mr. Zuckerberg stem from his role
19
      in “direct[ing] and control[ing] Facebook’s business.” Compl. ¶ 19; see also id. ¶¶ 38-39, 58, 108.
20
      He is thus subject to the same CDA protections as Facebook itself.
21
               Section 230(c)(1) bars both of CHD’s primary theories. First, CHD cannot hold Facebook
22
      or Mr. Zuckerberg liable for the overlays, warnings, and explanations attached to particular CHD
23
      posts because those fact-checks were undisputedly performed by third parties. In making the
24
      results of those fact-checks available, Facebook did no more than aggregate information provided
25
      by others. As the Ninth Circuit has held (in the context of Yelp’s star rating system), a “‘neutral
26
      tool[]’ operating on ‘voluntary inputs’ … [does] not amount to content development.” Kimzey v.
27
      Yelp, Inc., 836 F.3d 1263, 1269-1270 (9th Cir. 2016). Holding Facebook or Mr. Zuckerberg liable
28
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1     for the content of third-party fact-checks would treat them as the “publisher[s]” of that third-party

2     content, which Section 230(c)(1) expressly prohibits.

3             Second, neither Facebook nor Mr. Zuckerberg can be held liable for restricting user access

4     to articles shared by CHD after fact-checkers identified them as containing false information.

5     Those posts were created by either CHD or reposted by CHD from other websites, meaning they

6     were created by “another information content provider.” 47 U.S.C. § 230(c)(1); see also Sikhs for

7     Justice, Inc. v. Facebook, Inc., 697 F. App’x 526, 526 (9th Cir. 2017); Fyk v. Facebook, Inc., 808

8     F. App’x 597, 598 (9th Cir. 2020); Federal Agency of News LLC v. Facebook, Inc., 432 F. Supp.

9     3d at 1119-1120. And imposing liability for restricting access to CHD’s posts would treat
10    Facebook and Mr. Zuckerberg as the publisher of those posts: “[R]emoving content is something
11    publishers do, and to impose liability on the basis of such conduct necessarily involves treating the
12    liable party as a publisher.” Sikhs, 144 F. Supp. 3d at 1095. It does not matter that CHD’s content
13    was not taken down in its entirety, but instead was restricting from appearing in many users’ news
14    feeds. Publishing is not all or nothing; a publisher does not lose protection simply because it
15    publishes to some audiences and not others. In Sikhs for Justice, for example, the content at issue
16    allegedly was only restricted from publication in India, yet Section 230(c)(1) still applied. 144 F.
17    Supp. 3d at 1093; see also Greater L.A. Agency on Deafness, Inc. v. CNN, Inc., 742 F.3d 414, 422
18    (9th Cir. 2014) (depublishing from deaf viewers). Facebook and Mr. Zuckerberg therefore cannot
19    be held liable for actions that limited the reach of CHD’s posts.
20    IV.    CHD HAS NOT STATED A CLAIM UNDER THE LANHAM ACT (COUNT 2)
21            Even absent immunity, the Complaint fails to state a claim. CHD also cannot shoehorn an

22    “ongoing scientific controversy” into a Lanham Act false advertising claim. The Lanham Act’s

23    exists to “protect persons engaged in … commerce against unfair competition.” 15 U.S.C. § 1127.

24    It regulates false advertising and commercial speech in the interest of fair competition between

25    those engaged in commerce, not disputes over the veracity of public-health related claims between

26    publishers and those who use their platforms. CHD fails to state a claim under the Lanham Act

27    because its interests do not “fall within the zone of interests protected by the law,” Lexmark Int’l,

28    Inc. v. Static Control Components, Inc., 572 U.S. 118, 129 (2014), and because it has not plausibly
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1     alleged a promotional statement within the Act’s scope.

2            A.      CHD Lacks Standing Under The Lanham Act

3             The Lanham Act reaches only “competitive” injuries, that is, injuries “harmful to the

4     plaintiff’s ability to compete with the defendant.” ThermoLife Int’l LLC v. American Fitness

5     Wholesalers LLC, 2020 WL 122874, at *3 (D. Ariz. Jan. 10, 2020); see also Lexmark Int’l, 572

6     U.S. at 129, 131-132. CHD strains to fit its Lanham Act claims into this paradigm, claiming that it

7     competes with Defendants “in the marketplace of ideas.” Compl. ¶ 191. That allegation is

8     insufficient. “No court has held that Lanham Act competitors may be other than business

9     competitors. A theoretical educational competition for the ‘hearts and minds’ of consumers is

10    insufficient to give [CHD] Lanham Act standing.” Animal Legal Defense Fund v. HVFG LLC, 939

11    F. Supp. 2d 992, 1000 (N.D. Cal. 2013).

12            Indeed, CHD’s claimed injury is really to its interests as Facebook’s customer, not its

13    competitor. See POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 107 (2014) (Lanham Act

14    false advertising cause of action is “not [for] consumers”). In particular, CHD alleges it was

15    injured because Facebook limited the “visibility and reach” of its Facebook Page, which in turn

16    reduced its advertising revenue, website traffic, and goodwill. Compl. ¶¶ 103, 127, 128. But these

17    alleged harms all purportedly resulted from Facebook’s “enforcement of its policies to those who

18    post on its website,” and are therefore injuries “incurred by interacting with [Facebook] as a

19    consumer, not as a competitor.” Lewis v. Google LLC, 2020 WL 2745253, at *13 (N.D. Cal. May

20    20, 2020). CHD therefore lacks statutory standing under the Lanham Act.

21           B.      The Complaint Does Not Identify A Promotional Statement

22            CHD independently fails to state a claim under the Lanham Act because it has not alleged

23    the first element of a false advertising claim: “a false statement of fact by the defendant in a

24    commercial advertisement about its own or another’s product,” Southland Sod Farms v. Stover

25    Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997)—that is, a “promotion[al]” statement, Coastal

26    Abstract Serv., Inc. v. First Am. Title Ins. Co., 173 F.3d 725, 735 (9th Cir. 1999). To qualify as

27    promotional, a statement must be “encompassed within the ‘commercial speech’ doctrine

28    developed by the United States Supreme Court.” Gordon & Breach Science Pubs. S.A. v.
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1     American Inst. of Physics, 859 F. Supp. 1521, 1533-1534 (S.D.N.Y. 1994) (quoting 134 Cong.

2     Reg. 31,851 (Oct. 19, 1988) (statement of Rep. Kastenmeier)). This is a “constitutional

3     requirement” that prevents the Lanham Act from burdening “the type [of speech] which raise[s]

4     free speech concerns, such as … reviews … [and] misrepresentations made by interested groups

5     which may arguably disparage a company and its products.” Id. at 1533, 1536 (second quoting

6     135 Cong. Rec. H1216-17135 (Apr. 13, 1989) (statement of Rep. Kastenmeier)) (emphasis

7     omitted).

8            The Complaint does not identify any purportedly false commercial speech. CHD attempts to

9     hang its Lanham Act claim on the “warning label and ‘fact checks’” Facebook published on
10    CHD’s Page, Compl. ¶ 190, but neither provides the constitutionally required commercial hook.
11    Commercial speech, at its core, is that which “does no more than propose a commercial
12    transaction.” Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425
13    U.S. 748, 762 (1976). But here, Facebook’s warnings and fact checks do not propose commercial
14    transactions at all. Instead, they describe the content of CHD’s Page, Compl. ¶ 44; direct viewers
15    to freely available information about vaccine safety, id.; and categorize various CHD posts as
16    containing “false” or “partly false” information, e.g. id. ¶¶ 61, 66, 68.
17           That Facebook allegedly published its warning and fact-checks as “part of [its] ongoing
18    vaccine misinformation public relations campaign,” itself allegedly part of “Facebook’s business
19    model” of “manufactur[ing] users’ ‘trust,’” Compl. ¶ 192, does not make them commercial in
20    nature. First, even if true that Facebook derived some financial benefit from the warning label and
21    fact-checks, “economic motive in itself is insufficient to characterize a publication as
22    commercial.” Dex Media W., Inc. v. City of Seattle, 696 F.3d 952, 960 (9th Cir. 2012). Second,
23    and in any event, the complaint does not identify anything in the warning label or fact-checks that
24    relate to Facebook’s alleged business model of building trust regarding “user privacy and data
25    security.” Compl. ¶192. The warning label and fact-checks communicate information about
26    CHD’s posts, not Facebook own services. Faced with a similar claim regarding YouTube’s
27    designation of videos for its “Restricted Mode,” the Ninth Circuit held that neither YouTube’s
28    statements about its content moderation policies nor its designation of certain videos for
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1     “Restricted Mode” constituted promotional speech cognizable under the Lanham Act. See Prager

2     Univ. v. Google, LLC, 951 F.3d 991, 999-1000 (9th Cir. 2020).

3             And to the extent the Complaint alleges that the warning label and fact-checks are

4     promotional because they are part of the vaccination-misinformation campaign that Facebook

5     promotes through other means—such as the public statements of Mr. Zuckerberg—that, too, fails.

6     Speech is not itself promotional simply because it is a part of something that is promoted. For

7     example, in Rice v. Fox Broad. Co., 330 F.3d 1170 (9th Cir. 2003), the Ninth Circuit held the

8     statement “tonight, for the first time on television …” beyond the Lanham Act’s reach because it

9     “was part of the show itself, and was not made in promotion or marketing of the [show].” Id. at
10    1181. Accordingly, CHD has failed to state a claim cognizable under the Lanham Act.
11    V.     CHD HAS NOT STATED A CIVIL RICO CLAIM (COUNT 3)
12            The civil RICO statute “was enacted with a goal of eradicating organized, long-term

13    criminal activity.” Royce International Broadcasting Corp. v. Field, 2000 WL 236434, at *4 (N.D.

14    Cal. Feb. 23, 2000) (quoting Midwest Grinding Co. v. Spitz, 976 F.2d 1016, 1025 (7th Cir. 1999))

15    (alternation in original). This Court has therefore recognized that plaintiffs “try[] to fit a square

16    peg in a round hole by squeezing garden-variety business disputes into civil RICO actions.” Id.

17    (quoting Midwest Grinding, 976 F.2d at 1025). And courts should be particularly wary of

18    stretching civil RICO’s “somewhat elastic” predicate acts to encompass “fully protected First

19    Amendment activity.” National Org. for Women, Inc. v. Scheidler, 510 U.S. 249, 264 (1994)

20    (Souter, J., concurring). That is precisely what CHD has attempted to do here, by transforming

21    what is, at bottom, a complaint about Facebook’s enforcement of its terms of service and

22    Facebook’s own protected First Amendment activity into a civil RICO claim subject to treble

23    damages. Civil RICO cannot be stretched so far.

24           A.      CHD Lacks Statutory Standing To Bring A Civil RICO Claim

25            To have statutory standing to bring a civil RICO claim, CHD must have been “injured in

26    its business or property by reason of” its claimed RICO violations. 18 U.S.C. § 1964(c). This

27    requirement “is not easily met,” Sheperd v. American Honda Motor Co., 822 F. Supp. 625, 629

28    (N.D. Cal. 1993); it requires “some direct relation between the injury asserted and the injurious
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1     conduct alleged.” Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 981 (9th Cir. 2008) (quoting

2     Holmes v. Securities Investor Prot. Corp., 503 U.S. 258, 268 (1992)) (emphasis added).

3     CHD claims that the allegedly false statements dissuaded members of the public from reviewing

4     posts on CHD’s Facebook Page, which in turn decreased traffic to CHD’s website, which in turn

5     caused CHD to lose donations and membership fees. See, e.g., Compl. ¶¶ 226, 234. 8 These types

6     of indirect harms do not confer statutory standing, because they “could have resulted from factors

7     other than [Defendants’] alleged acts of fraud,” Anza v. Ideal Steel Supply Corp., 547 U.S. 451,

8     459 (2006), including, for example: “the state of the economy,” CHD’s “quality of service,” or

9     “customer satisfaction and referrals,” Ozeran v. Jacobs, 2018 WL 1989525, at *9 (C.D. Cal. Apr.
10    25, 2018), aff’d, 798 F. App’x 120 (9th Cir. 2020). Because “[b]usinesses lose and gain customers
11    for many reasons … it would require a complex assessment to establish what portion” of CHD’s
12    lost donations and membership fees were the direct result of alleged fraud and which portion were
13    due to other forces. Anza, 547 U.S. at 459. This Court should follow the many other courts that
14    have held unspecified lost business cannot support a civil RICO claim. See, e.g., Holmes, 503 U.S.
15    at 272-273; Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1148 (9th Cir. 2008).
16           B.      CHD Has Not Pleaded Any Predicate Acts Of Wire Fraud
17            To plead a civil RICO claim, a plaintiff must identify “racketeering activity (known as

18    predicate acts).” Eller v. Equitrust Life Insurance Co., 778 F.3d 1089, 1092 (9th Cir. 2015). CHD

19    has not adequately pleaded its purported predicate acts of wire fraud.

20                   1.      Defendants did not obtain “money or property” from CHD

21            Pleading wire fraud requires a showing that the defendant “obtain[ed] money or property

22    from the one who is deceived.” United States v. Lew, 875 F.2d 219, 221 (9th Cir. 1989); see also

23    Monterey Plaza Hotel L.P. v. Local 483, 215 F.3d 923, 926-927 (9th Cir. 2000). CHD alleges only

24    that Defendants’ actions reduced visits to CHD’s website, reduced donations to CHD, and

25    diminished CHD’s “trade reputation and goodwill.” Compl. ¶ 128. Putting aside whether any of

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      8
        CHD also claims that removing its “donate” button caused it to lose donations, but does not
28    claim that Facebook committed wire fraud in doing so.
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1     those count as “money or property,” CHD cannot, as a logical matter, allege that Defendants took

2     for themselves visits to CHD’s website or CHD’s reputation, or that its establishment of a fact-

3     checking apparatus directed to vaccine misinformation evidenced any such intend. Nor has CHD

4     alleged that Defendants intended to route donations intended for CHD to themselves. That alone

5     defeats their civil RICO claims. See Monterey Plaza Hotel, 215 F.3d at 926-927. Moreover, the

6     only people who Defendants allegedly defrauded are individual Facebook users and CHD’s

7     advertising agency. But no Defendant is alleged to have taken any money from those people—a

8     fact which independently defeats CHD’s attempts to plead wire fraud. See Sugarman v. Muddy

9     Waters Capital LLC, 2020 WL 633596, at *3 (N.D. Cal. Feb. 3, 2020).
10                   2.      None of the purported acts of “wire fraud” were fraudulent
11            Wire fraud must be pleaded with specificity, see Edwards v. Marin Park, Inc., 356 F.3d
12    1058, 1065-1066 (9th Cir. 2004), requiring CHD to “state the time, place, and specific content of
13    the false representations as well as the identities of the parties to the misrepresentation,” Schreiber
14    Distributing Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986), and to “set forth
15    an explanation as to why the statement or omission complained of was false or misleading,”
16    Decker v. GlenFed, Inc., 42 F.3d 1541, 1548 (9th Cir. 1994) (en banc). None of the allegedly false
17    statements CHD has identified suffice.
18           “Warning label” on CHD’s Facebook page: First, CHD claims that the banner placed on its

19    Facebook page constituted wire fraud. Compl. ¶¶ 55-59. That banner says only that “This Page

20    posts about vaccines. When it comes to health, everyone wants reliable, up-to-date information.

21    The Centers for Disease Control (CDC) has information that can help answer questions you may

22    have about vaccines. Go to CDC.gov.” Id. ¶ 44. CHD does not dispute that it posts about vaccines,

23    that people want reliable vaccine information, and that the CDC provides vaccine-related

24    information. CHD alleges only that the statement is a “classic imputation of dishonesty,” id.

25    ¶ 53(C), because its “gist” is to convey that CHD’s Page contains unreliable information, id.

26    ¶ 210. Even if that “gist” were clear from the text of the statement, CHD fails to explain why it is

27    false beyond the ipse dixit that its content is reliable. Id. CHD’s judgment on what is reliable does

28    not discharge its burden of identifying why the statement is false. See Decker, 42 F.3d at 1548.
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1            Statements About Specific CHD Posts: CHD also complains that Defendants committed

2     wire fraud by identifying certain articles shared by CHD as “False,” “Partly False,” or “False

3     Headline.” Compl. ¶¶ 60-99. Here, too, CHD has not shown that Defendants’ statements were

4     objectively false or misleading; at most, it has pleaded facts showing that some people disagree

5     about whether specific CHD posts were “false.” At bottom, CHD’s complaint is that Defendants

6     “deliberate[ly] conflate[d] open scientific controversy with ‘vaccine hoax.’” Id. ¶ 87. But whether

7     there is “open scientific controversy” concerning vaccines is itself a matter of opinion. The fact

8     that CHD disagrees with Defendants’ assessment of the clear weight of scientific authority does

9     not give CHD a claim for fraud. See, e.g., Miller v. Yokohama Tire Corp., 358 F.3d 616, 621 (9th
10    Cir. 2004) (opinion not actionable as fraud); see also Restatement (Second) of Torts § 538A.
11           In any case, for the posts that it claims Defendants falsely labeled, CHD has not pleaded

12    with particularity that any statement at issue is false. For example, CHD complains that fact-

13    checkers labeled a 45-minute video in which Robert F. Kennedy, Jr. talks about vaccines “Partly

14    False,” but never claims that the video was completely accurate; all it says is that “RFK Jr.

15    accurately detailed Dr. Anthony Fauci’s past involvement with vaccine manufacturers.” Compl.

16    ¶ 67. That conclusory statement falls short of the specificity Rule 9(b) requires. Elsewhere, CHD

17    contends that Science Feedback was wrong to state in an article that “vaccines bear no association

18    with sudden child infant death” because that statement “contradicts, inter alia, the potential

19    adverse effect advisements formerly on many vaccine product inserts.” Id. ¶ 99. But CHD does

20    not explain what, specifically, was contained on vaccine product inserts, what vaccines those

21    advisements applied to, or why those advisements contradict Science Feedback’s conclusion that

22    the scientific evidence does not support an association between vaccines and sudden infant death

23    syndrome. That, too, does not satisfy Rule 9(b).

24           Statements concerning removal of CHD’s advertising and fundraising functions: CHD also

25    complains that Facebook defrauded it by telling CHD that its “donate” button was deactivated

26    because CHD violated Facebook’s terms of service “by posting ‘false information’ with respect to

27    vaccines,” Compl. ¶¶ 53(A), 100, and by telling CHD’s advertising agency that CHD “had

28    repeatedly posted content that has been disputed by third-party fact-checkers [for] promoting false
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1     content,” id. ¶ 101; see also id. ¶ 53(B). Even assuming these statements were pleaded with

2     particularity (they are not), they do not rise to the level of fraud. Fraudulent statements must have

3     a tendency to mislead, see Sosa v. DIRECTV, Inc., 437 F.3d 923, 941 (9th Cir. 2006), and CHD

4     has not suggested that anything Facebook told CHD misled it. Presumably CHD itself knew

5     whether it had violated Facebook’s terms of service, and there is no allegation that Facebook

6     disabled the donate button for some other, undisclosed, reason. As for the statements to CHD’s

7     advertising agency, CHD has not established they were false or misleading—nor can it. The

8     complaint itself alleges that, by April 2020 when the agency purportedly received this message

9     from Facebook, CHD had been informed multiple times that Facebook’s third-party fact-checkers
10    disputed its posts. See Compl. ¶¶ 60-89.
11           Description of PolitiFact and Science Feedback as “Independent”: CHD suggests that

12    Facebook was wrong to call its fact-checkers “independent.” But again, CHD nowhere explains

13    why that label was inaccurate, beyond alleging that the fact-checkers were paid for providing fact-

14    checking services and that they filled out a Facebook-created form that allowed them to categorize

15    articles as one of “False,” “False Headline,” “Partly False,” or several other options. See Compl.

16    ¶ 122, 123. Moreover, whether someone is “independent” (without reference to any standard of

17    independence) is not an objective statement of fact capable of being proven false; it is a matter on

18    which reasonable minds, and their interpretation thereof, may differ. In any case, all of the facts

19    CHD claims made Facebook’s description of the fact-checkers false were publicly disclosed,

20    including on pages incorporated by reference into the Complaint. See supra pp. 3-5. CHD can

21    hardly claim that Facebook misled anyone as to its relationship with its third-party fact-checkers.

22           Failure to disclose that CHD’s posts were not available to all Facebook users. Finally, CHD

23    complains that Facebook never told it that some of its posts were not being displayed to every

24    Facebook user (through processes it refers to as “shadowbanning” or “sandboxing”). Compl.

25    ¶¶ 103-118. Judicially noticeable documents demonstrate that Facebook publicly announced that

26    “Once a fact-checker rates a piece of content as False, Altered, or Partly False, it will appear

27    lower in News Feed, be filtered out of Explore on Instagram, and be featured less prominently in

28    Feed and Stories. This significantly reduces the number of people who see it.” Jennings Decl. Ex.
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1     1 at 2. That same page likewise informs Facebook users that “Pages and websites that repeatedly

2     share misinformation rated False or Altered will have some restrictions, including having their

3     distribution reduced.” Id. And even if Facebook had not disclosed the impact having content rated

4     “false,” such an omission simply cannot support a wire fraud claim absent a duty to disclose

5     arising out of either (1) a fiduciary relationship or similar relationship of trust, or (2) an explicit

6     statutory duty. Eller v. EquiTrust Life Insurance Co., 778 F.3d 1089, 1092 (9th Cir. 2015). CHD

7     has not alleged facts supporting either requirement.

8     VI.    CHD FAILS TO STATE ANY CLAIM AGAINST MARK ZUCKERBERG

9             All else aside, the Complaint fails to state any claim against Mark Zuckerberg because it

10    does not plausibly allege his personal involvement in any of the conduct at issue. Personal liability

11    under each Count requires direct involvement in the allegedly unlawful conduct: under Bivens, “a

12    plaintiff must plead that each Government-official defendant, through the official’s own individual

13    actions, has violated the Constitution,” Iqbal, 556 U.S. at 676; the Lanham Act imposes individual

14    liability on corporate officers only for conduct they “authorize[] or direct[] or in which [they]

15    participate[],” POM Wonderful LLC v. Purely Juice, Inc., 362 F. App’x 577, 581 (9th Cir. 2009);

16    and individual liability under civil RICO requires that a defendant “participate[d] in the operation

17    or management of the enterprise itself,” Reves v. Ernst & Young, 507 U.S. 170, 185 (1993).

18    Moreover, as the Lanham Act and civil RICO claims sound in fraud, they must satisfy the

19    heightened pleadings standards of Rule 9(b). See Schreiber Distrib. Co., 806 F.2d at 1400-1401

20    (civil RICO claims predicated on wire fraud must satisfy Rule 9(b)); TransFresh Corp. v.

21    Ganzerla & Assoc., Inc., 862 F. Supp. 2d 1009, 1014, 1017-1018 (N.D. Cal. 2012) (allegations of

22    false statements that violate Lanham Act must satisfy Rule 9(b)). And in addition to the time,

23    place, and content of the alleged false statements, Rule 9(b) requires that plaintiffs “identify the

24    role of each defendant in the alleged fraudulent scheme.” Openwave Sys. Inc. v. Fuld, 2009 WL

25    1622164, at *5 (N.D. Cal. June 6, 2009).

26            The Complaint does not allege that Mr. Zuckerberg was personally involved in any of the

27    allegedly unlawful conduct. See supra pp. 8-9. Accordingly, he cannot be personally liable under

28    either Bivens, see supra pp. 8-9, or the Lanham Act, see Openwave Sys., Inc., 2009 WL 1622164,
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1     at *5. And to the extent the Complaint alleges that Mr. Zuckerberg has some involvement in

2     Facebook’s “content management” decisions, that does not demonstrate that he operated or

3     managed the alleged RICO enterprise. The Complaint alleges only that Mr. Zuckerberg was

4     personally involved in decisions whether to remove two instances of political speech wholly

5     unrelated to CHD, see Compl. ¶ 155. Because there is no allegation that those decisions were

6     unlawful, they cannot support RICO liability; personal involvement in decisions “separate and

7     apart from any alleged racketeering acts” cannot establish individual RICO liability. Ferrari v.

8     Mercedes-Benz USA, LLC, 2016 WL 7188030, at *3 (N.D. Cal. Dec. 12, 2016).

9     VII. CHD IS NOT ENTITLED TO DECLARATORY RELIEF
10            “[T]he Declaratory Judgment Act creates a remedy for litigants but is not an independent

11    cause of action.” County of Santa Clara v. Trump, 267 F. Supp. 3d 1201, 1215-1216 (N.D. Cal.

12    2017). As CHD has failed to state any claim, it is not entitled to declaratory relief. Count IV must

13    be dismissed alongside CHD’s other claims.

14                                              CONCLUSION

15           The Complaint’s numerous legal defects—including the absence of a federal actor as

16    required for liability under Bivens, the lack of either an interest or statement cognizable under the

17    Lanham Act, the absence of any false statement sufficient for RICO liability, and the Complaint’s

18    intrusion upon rights guaranteed to Facebook under the First Amendment and Section 230 of the

19    Communications Decency Act—cannot be cured by amendment. The Complaint should be

20    dismissed with prejudice.

21

22    Dated: October 23, 2020                                WILMER CUTLER PICKERING, HALE AND
                                                             DORR LLP
23
                                                             By:   /s/ Sonal N. Mehta
24                                                                 SONAL N. MEHTA

25                                                           Attorney for Defendants
                                                             Facebook, Inc. and Mark Zuckerberg
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1                                      CERTIFICATE OF SERVICE

2            I hereby certify that on October 23, 2020, I electronically filed the above document with the

3    Clerk of the Court using CM/ECF which will send electronic notification of such filing to all

4    registered counsel.

5

6     Dated: October 23, 2020                             By:   /s/ Sonal N. Mehta
                                                                 Sonal N. Mehta
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